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January 7, 2019

The Honorable Robyn Crittenden
Secretary of State Elect Brad Raffensperger
Rep. Barry Fleming
Members of the SAFE Commission
214 State Capitol
Atlanta, Georgia 30334 (via e-mail)

Dear Secretary Crittenden, Secretary Elect Raffensperger, and SAFE Commission Members:


        We write to urge you to follow the advice of election security experts nationwide,
including the National Academies of Sciences, the Verified Voting Foundation, Freedomworks,
the National Election Defense Coalition, cyber security expert and Commission member
Professor Wenke Lee, and the many states that are abandoning vulnerable touchscreen
electronic voting machines in favor of hand-marked paper ballots as the best method for
recording votes in public elections.
         Our strong recommendation is to reject computerized ballot marking devices (BMDs) as
an option for Georgia’s voting system, except when needed to accommodate voters with
disabilities that prevent them from hand-marking paper ballots. Hand-marked paper ballots,
scanned by modern optical scanners and used in conjunction with risk-limiting post-election
audits of election results, should be the standard balloting method statewide.
        Although they are expensive and complex devices, computerized ballot markers
perform a relatively simple function: recording voter intent on a paper ballot. Since there are
no objective, quantitative studies of their benefits, acquiring BMDs for widespread use risks
burdening Georgia taxpayers with unnecessary costs. Furthermore, BMDs share the pervasive
security vulnerabilities found in all electronic voting systems, including the insecure, paperless
DREs in current use statewide. These reasons alone should disqualify BMDs from widespread
use in Georgia’s elections, especially since there is a better alternative.
         Hand-marked paper ballots constitute a safer and less expensive method of casting
votes. Hand-marked paper ballots offer better voter verification than can be achieved with a
computerized interface. A paper ballot that is indelibly marked by hand and physically secured
from the moment of casting is the most reliable record of voter intent. A hand-marked paper
ballot is the only kind of record not vulnerable to software errors, configuration errors, or
hacking.
        The SAFE Commission has heard testimony about voter errors in marking paper ballots
and the susceptibility of paper ballots to tampering or theft. No method of balloting is perfect,
but vulnerabilities in computerized marking devices, if exploited by hackers or unchecked by
bad system designs, raise the specter of large-scale, jurisdiction-wide failures that change
election outcomes. For example, with hand-marked paper ballots, voters are responsible only
for their own mistakes. On the other hand, voters who use BMDs are responsible not only for
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their own mistakes but also for catching and correcting errors or alterations made by a BMD
which marks ballots for hundreds of voters. For this reason, well-designed hand-marked paper
ballots combined with risk-limiting post-election tabulation audits is the gold standard for
ensuring that reported election results accurately reflect the will of the people.
        Voter verification of a BMD-market ballot is the principle means of guarding against
software errors that alter ballot choices. Many BMDs present a ballot summary card to the
voter for verification. The 2018 National Academies of Science, Engineering and Medicine
Consensus Report Securing the Votes: Protecting American Democracy, which represents the
nation’s best scientific understanding of election security and integrity, states: “Unless a voter
takes notes while voting, BMDs that print only selections with abbreviated names/descriptions
of the contests are virtually unusable for verifying voter intent.” Although advocates of
touchscreen ballot marking devices claim that the human readable text ballot summary cards
are “voter verifiable,” the contrary is true: voter verified summary cards that contain errors
(whether induced by hacking or by design flaws) are likely to be mistakenly cast, making a valid
audit impossible. A post-election audit requires a valid source document, either marked directly
by the voter or voter verified. Since voter verification of printed ballot summary cards (the
source document) is sporadic and unreliable, elections conducted with most ballot marking
devices are unauditable.
       While you may have been told that touchscreen systems are more “modern” devices,
many of your peers and most election security experts have found this appeal to be based on a
mistaken view that the voting public will naively accept new technology as a “step forward.”
We are intimately familiar with the hidden costs, risks, and complexity of these new
technologies. We can assure you there is objective scientific and technical evidence supporting
the accuracy of traditional, easily implemented scanned and audited hand-marked paper ballot
systems. We urge you to recommend such a system as the safest, most cost-effective, and
transparent way of conducting future elections.
      If we can be of help in providing more information, we hope you will feel free to call
upon us.
Sincerely,


 Dr. Mustaque Ahamad                              Dr. Andrew Appel
 Professor of Computer Science,                   Eugene Higgins Professor of Computer
 Georgia Institute of Technology                  Science
                                                  Princeton University

 Dr. David A. Bader, Professor                    Matthew Bernhard
 Chair, School of Computational Science and       University of Michigan
 Engineering                                      Verified Voting
 College of Computing
 Georgia Institute of Technology
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 McDevitt Chair in Computer Science and Law    NCR Professor of Computer Science and
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                                               Dept. of Computer Science and Engineering
                                               University of South Carolina

 Dr. Richard DeMillo                           Dr. Larry Diamond
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 Georgia Tech                                  Stanford University

 David L. Dill                                 Dr. Michael Fischer
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 School of Engineering and Professor of        Yale University
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 Founder of VerifiedVoting.org

 Adam Ghetti                                   Susan Greenhalgh
 Founder / CTO                                 Policy Director
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 Dr. Justin Moore                              Dr. Peter G. Neumann
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 Dr. Ronald L. Rivest                          Dr. Aviel D. Rubin
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 Dr. John E. Savage                               Dr. Barbara Simons
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 Dr. Eugene H. Spafford                           Dr. Philip Stark
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